      Case 3:88-cr-00215-HWM-J_T Document 1891 Filed 04/18/08 Page 1 of 2 PageID 2747



OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                          Middle District of Florida

                    United States of America                          )
                               v.                                     )
                                                                      )   Case No: 3:88-cr-215-J-12HTS
                        Melvin Robinson
                                                                      )   USM No: 09014-018
Date of Previous Judgment: September 19, 1989                         )   James H. Burke, Esq.
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of x the defendant ’ the Director of the Bureau of Prisons          the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                                                                                   262 months or time
                                                                                   served, whichever is
                    the last judgment issued) of 360 months* months is reduced to greater                                        .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    41               Amended Offense Level:                                       39
Criminal History Category: I                Criminal History Category:                                   I
Previous Guideline Range: 324 to 405 months Amended Guideline Range:                                     262   to 327   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
x The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):

                        Continued on page 2.
     Case 3:88-cr-00215-HWM-J_T Document 1891 Filed 04/18/08 Page 2 of 2 PageID 2748




       Melvin Robinson
       Case No. 88-cr-215-J-12HTS                                                  Page 2 of 2

III. ADDITIONAL COMMENTS

*The Defendant was sentenced to 360 months on each of Counts 1,3 and 6 of the Indictment to run concurrently. The
reduction of sentence likewise applies to all three counts.
U.S.S.G. 1B1.10(b)(2)(C) states that “[i]n no event may the reduced term of imprisonment be less than the term of
imprisonment the defendant has already served.”
  The parties in this case have stipulated that the Defendant is eligible for a sentence reduction and that his sentenced be
reduced by 98 months to a term of 262 months or time served, whichever is greater. See Doc. 1889.
  Pursuant to the request of the United States, the Court has delayed the effective date of this Order for ten (10) days to
allow the Bureau of Prisons sufficient time to comply with various pre-release statutory requirements and to the extent
possible, establish a release plan for the Defendant.
Except as provided above, all provisions of the judgment dated 9/19/89            shall remain in effect.
IT IS SO ORDERED.




Order Date:                April 18, 2008


Effective Date:           April 28, 2008
                  (if different from order date)



       Copies to:
       Defendant Melvin Robinson, FCI Miami
       AUSA (Henry)
       AFPD (Burke)
       USPO (Steve Watson)
       Bureau of Prisons (via e-Designate system and U.S. mail)
